                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                      CIVIL ACTION NO. 3:20-CV-415-FDW-DCK

 JEANNE MOTON HESPRICH,                                 )
                                                        )
                 Plaintiff,                             )
                                                        )
     v.                                                 )         ORDER
                                                        )
 BARD PERIPHERAL VASCULAR, INC.                         )
 and C.R. BARD, INC.,                                   )
                                                        )
                 Defendants.                            )
                                                        )


          THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 7) filed by Whitney Butcher, concerning Benjamin C.

Stellpflug, on September 25, 2020. Benjamin C. Stellpflug seeks to appear as counsel pro hac

vice for Plaintiff. Upon review and consideration of the motion, which was accompanied by

submission of the necessary fee and information, the Court will grant the motion.

          IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 7) is GRANTED. Benjamin C.

Stellpflug is hereby admitted pro hac vice to represent Plaintiff.


                                     Signed: September 25, 2020




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